       Case 2:23-bk-16229-DS              Doc 11 Filed 10/26/23 Entered 10/26/23 11:37:39                              Desc
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(07/06)

                                        United States Bankruptcy Court
                                          Central District of California
                                        255 East Temple Street, Los Angeles, CA 90012

                              CLERK'S NOTICE OF UNITED STATES TRUSTEE'S
                                   STATEMENT OF PRESUMED ABUSE

   DEBTOR(S) INFORMATION:                                                  BANKRUPTCY NO. 2:23−bk−16229−DS
   Bryan Rocha                                                             CHAPTER 7
   SSN: xxx−xx−2646
   EIN: 14−1682529
   5073 Edgewood Place
   Unit 4
   Los Angeles, CA 90019



The United States Trustee has reviewed all materials filed by the Debtor and has determined that the Debtor's case is
presumed to be an abuse under Section 707(b).
As required by 11 U.S.C. Section 704(b)(2) the United States Trustee shall, not later than 30 days after the date of this
statement's filing, either file a motion to dismiss or convert under 11 U.S.C. Section 707(b) or file a statement setting forth the
reasons United States Trustee does not consider such a motion to be appropriate. Debtor(s) may rebut the presumption of
abuse only if special circumstances can be demonstrated as set forth in 11 U.S.C. Section 707(b)(2)(B).




                                                                                  For the Court,
Dated: October 26, 2023                                                           Kathleen J. Campbell
                                                                                  Clerk of Court




(Form rev. 07/06) abusecac1                                                                                                11 / NMTr
